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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

Case No. 20-12168 (CSS)
TOWN SPORTS INTERNATIONAL,
LLG, eFal,,

Debtors. Reference Docket No.: 1018, 1069, and 1084

Nee eee

 

ORDER (i) GRANTING MOTION OF TOWN SPORTS
INTERNATIONAL HOLDINGS, INCL FOR RECONSIDERATION
OR CLARIFICATION OF THE COURT'S MAY 20, 2021 ORDER
AND (ii) DENYING TOWN SPORTS INTERNATIONAL
HOLDINGS, INC.’S MOTION TO ENFORCE SALE
ORDER AND COMPEL TURNOVER OF DOCUMENTS

 

Upon consideration of the Motion of Town Sports International Holdings,
Inc. to Enforce Sale Order and Compel Turnover of Documents [D.I. 1018] filed on
April 6, 2021 (the “Motion”);! the Court’s Order [D.I. 1069] dated May 20, 2021 (the
“Order”), and the Motion of Town Sports International Holdings, Inc. for
Reconsideration or Clarification of the Court’s May 20, 2021 Order [D.I. 1084], filed
on June 3, 2021 (the “Reconsideration Motion”),? the Court having reviewed the
Motion and the objections thereto, the Order, and the Reconsideration Motion; the

Court having heard the statements of counsel regarding the Motion at a hearing

 

' The Court has also reviewed the considered the (i) Objection of New TSI Holdings, Inc. to
Motion of Town Sports International Holdings, Inc. “To Enforce Sale Order and Compel
Turnover of Documents” and the Declaration of Nitin Ajmera [D.1. 1033], filed on April 13, 2021;
and the (ii) Reply in Further Support of Motion to Enforce Sale Order and Compel Turnover of
Documents [D.I. 1040], filed on April 15, 2021.

2 No objections were filed to the Reconsideration Motion. See Certificate of No Objection [D.I. 1097],
filed on June 24, 2021.
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before the Court by Zoom on April 20, 2021 (the “Hearing”); and the Court having
found that (i) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
and 1334, (ii) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), (iii) notice of
the Motion was sufficient under the circumstances; and (iv) the Court has judicial
power to enter a final order.
IT IS HEREBY ORDERED THAT,
(i) The Reconsideration Motion is GRANTED; and
(ii) | The Motion is DENIED for the reasons set forth in the Objection of
New TSI Holdings, Inc. to Motion of Town Sports International
Holdings, Inc. “To Enforce Sale Order and Compel Turnover of
Documents” and the Declaration of Nitin Ajmera [D.I. 1033], filed on

April 13, 2021, which the Court adopts in toto.

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Christopher S. Sontchi, Chief Judge
United States Bankruptcy Court

 

Dated: June 25, 2021
